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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Susan Winstead, et al.
                                Plaintiff,
v.                                                   Case No.: 1:18−cv−04990
                                                     Honorable Edmond E. Chang
ComplyRight, Inc.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 8, 2019:


       MINUTE entry before the Honorable Edmond E. Chang: In light of the entry of
the judgment order, the case is administratively terminated. Emailed notice(slb, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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